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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                       GREAT FALLS DIVISION

CENTER FOR BIOLOGICAL
DIVERSITY, et al.,
            Plaintiffs,
v.
LT. GEN SCOTT A. SPELLMON, et
al.,                                          CV 4:21-cv-00047-BMM
            Defendants,
                                              Order Re: Joint Case
and                                           Management Plan
AMERICAN GAS ASSOCIATION,
et at.,
            Defendant-Intervenors,
and
STATE OF MONTANA,
            Defendant-Intervenors.



      On October 6, 2021, the parties filed a Joint Case Management Plan. For

good cause shown in that document, the Court hereby orders as follows:

      1.    The Court enters the following scheduling order:

 Administrative Record Lodged with       December 17, 2021
 the Court
 Pls.’ Motion to Supplement and/or       January 14, 2022
 Complete the Administrative Record
 Pls.’ Motion for Summary Judgment       February 4, 2022

 Fed. Defs.’ Cross-MSJ and Response      March 4, 2022
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 Def.-Int.’s Cross-MSJ and Response            March 11, 2022

 Pls.’ Response and MSJ Reply                  April 8, 2022

 Fed. Defs.’ Reply in Support of Cross-        April 29, 2022
 MSJ
 Def.-Int.’s Reply in Support of Cross-        May 6, 2022
 MSJ


2.     The parties’ request for an expansion of the word limits set forth in Local

Rule 7.1(d) for the briefing set forth above is granted as follows:

       Plaintiffs’ motion for summary judgment – 13,000 words; Federal

Defendants’ and Defendant-Intervenors’ cross-motions/responses – 13,000 words

each

       Following the submission of these briefs, the parties will propose word

limits for the remaining briefs, including the possibility that Plaintiffs would file a

single consolidated response brief.

       DATED this 7th day of October, 2021.




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